        Case 4:22-cv-00422-PJH       Document 61        Filed 09/17/24      Page 1 of 2




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 8                              UNITED STATES DISTRICT COURT

 9               NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

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     HARSH ALKUTKAR, individually and on              Case No.: 4:22-cv-00422-PJH
11   behalf of all others similarly situated,
                                                      [PROPOSED] ORDER CONFIRMING
12                                                    ARBITRATION AWARD
                  Plaintiff,
13                                                    Action Filed: January 22, 2022
           v.                                         Trial Date: None Set
14
     BUMBLE INC. and BUMBLE HOLDING
15   LIMITED,
16                Defendants.
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                                                                               Case No. 4:22-cv-00422-PJH
                                       [PROPOSED] ORDER CONFIRMING ARBITRATION AWARD
        Case 4:22-cv-00422-PJH       Document 61        Filed 09/17/24                Page 2 of 2




1          Having considered the Stipulation to Confirm Arbitration Award of Plaintiff Harsh Alkutkar

2    and Defendants Bumble Inc. and Bumble Holding Limited (“Defendants”), the Court hereby

3    CONFIRMS the Final Arbitration Award issued by Hon. David A. Garcia of JAMS on April 9, 2024.

4          IT IS SO ORDERED.
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6           September 17, 2024
     Dated:___________________                                                        ERED




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7                                                     Hon. Phyllis J. yHamilton   amilton
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                                                      United States District Judge




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                                       [PROPOSED] ORDER CONFIRMING ARBITRATION AWARD
